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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                     Judge Robert E. Blackburn

Civil Action No. 18-cv-01276-REB-STV

JANICE KEEHN and DEBRA SONKSEN,

          Plaintiffs,

v.

STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY,

          Defendant.


                                          ORDER OF DISMISSAL

Blackburn, J.

          This matter is before me on the parties’ Stipulated Motion To Dismiss All Claims

By Plaintiffs Against Defendant With Prejudice [#21],1 filed August 23, 2018. After

reviewing the stipulation and the record, I conclude the stipulation should be approved and

this action should be dismissed with prejudice.

          THEREFORE, IT IS ORDERED as follows:

          1. That the Stipulated Motion To Dismiss All Claims By Plaintiffs Against

Defendant With Prejudice [#21], filed August 23, 2018, is granted;

          2. That all pending pretrial deadlines are vacated;

          3. That the combined Trial Preparation Conference and Final Pretrial Conference

scheduled for May 22, 2019, at 10:00 a.m. is vacated;

          4. That the jury trial scheduled to commence on June 3, 2019, is vacated; and




             1
                “[#21]” is an example of the convention I use to identify the docket number assigned to a
     specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
     convention throughout this order.
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      5. That this action is dismissed with prejudice, with the parties to pay their own

attorney fees and costs.

      Dated August 24, 2018, at Denver, Colorado.

                                                  BY THE COURT:




                                              2
